Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 1 of 16 Page ID
                                 #:13637
                                                             ATTACHMENT B
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                                 #:13638
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                                 #:13639
Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 4 of 16 Page ID
                                 #:13640
Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 5 of 16 Page ID
                                 #:13641
Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 6 of 16 Page ID
                                 #:13642
Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 7 of 16 Page ID
                                 #:13643
Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 8 of 16 Page ID
                                 #:13644




                            EXHIBIT 1
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                                 #:13646




                             EXHIBIT 2
      Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 11 of 16 Page ID
** Referral Service    List of Pro Bono Legal
* Non Profit Organization
                                              Service Providers
                                          #:13647                    Updated July 2017
*** Private Attorney        http://www.justice.gov/eoir/list-pro-bono-legal-service-providers
                                       San Antonio Immigration Court
San Antonio, Texas
American Gateways*                                          RAICES*

One Highland Center                                         Refugee and Immigrant Center for Education and Legal
314 Highland Mall Blvd., Ste. 501                           Services
Austin, TX 78752                                            1305 N. Flores
(512) 478-0546                                              San Antonio, TX 78212
www.americangateways.org                                    Tel: (210) 226-7722
                                                            Fax: (210) 212-4856
Catholic Charities Archdiocese of San Antonio, Inc.*        www.raicestexas.org
202 W French Place
San Antonio, TX 78212                                       • Will represent aliens in asylum cases
(210) 433-3256
                                                            St. Mary's Immigration and Human Rights Clinic*
• Only represents clients in San Antonio Immigration
Court                                                   2507 NW 36th St
Immigration Clinic of the University of Texas School of San Antonio, TX 78228
Law*                                                    Phone: (210) 431-2596
                                                        Fax: (210) 431-5700
727 East Dean Keeton Street                             Texas RioGrande Legal Aid, Inc.*
Austin, TX 78705-3299
(512) 232-1292                                          1111 N. Main Ave
                                                        San Antonio, TX 78212
• Will represent aliens in Asylum cases                 Tel: (210) 212-3700
• Clinic is closed from May 1st until September 1st     Fax: (210) 212-3774

                                                            • Toll Free 1-888-988-9996
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                                 #:13648




                             EXHIBIT 3
      Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 13 of 16 Page ID
** Referral Service    List of Pro Bono Legal
* Non Profit Organization
                                              Service Providers
                                          #:13649                    Updated July 2017
*** Private Attorney        http://www.justice.gov/eoir/list-pro-bono-legal-service-providers
                                          Pearsall Immigration Court
Pearsall, Texas
American Gateways*                                          St. Mary's Immigration and Human Rights Clinic*
One Highland Center
314 Highland Mall Blvd., Ste. 501                           2507 NW 36th St
Austin, TX 78752                                            San Antonio, TX 78228
(512) 478-0546                                              Phone: (210) 431-2596
www.americangateways.org                                    Fax: (210) 431-5700
Texas RioGrande Legal Aid, Inc.*

1111 N. Main Ave
San Antonio, TX 78212
Tel: (210) 212-3700
Fax: (210) 212-3774
www.trla.org

• Toll Free 1-888-988-9996
      Case 2:85-cv-04544-DMG-AGR Document 374-2 Filed 09/08/17 Page 14 of 16 Page ID
** Referral Service    List of Pro Bono Legal
* Non Profit Organization
                                              Service Providers
                                          #:13650                    Updated July 2017
*** Private Attorney        http://www.justice.gov/eoir/list-pro-bono-legal-service-providers
                                       San Antonio Immigration Court
San Antonio, Texas
American Gateways*                                          RAICES*

One Highland Center                                         Refugee and Immigrant Center for Education and Legal
314 Highland Mall Blvd., Ste. 501                           Services
Austin, TX 78752                                            1305 N. Flores
(512) 478-0546                                              San Antonio, TX 78212
www.americangateways.org                                    Tel: (210) 226-7722
                                                            Fax: (210) 212-4856
Catholic Charities Archdiocese of San Antonio, Inc.*        www.raicestexas.org
202 W French Place
San Antonio, TX 78212                                       • Will represent aliens in asylum cases
(210) 433-3256
                                                            St. Mary's Immigration and Human Rights Clinic*
• Only represents clients in San Antonio Immigration
Court                                                   2507 NW 36th St
Immigration Clinic of the University of Texas School of San Antonio, TX 78228
Law*                                                    Phone: (210) 431-2596
                                                        Fax: (210) 431-5700
727 East Dean Keeton Street                             Texas RioGrande Legal Aid, Inc.*
Austin, TX 78705-3299
(512) 232-1292                                          1111 N. Main Ave
                                                        San Antonio, TX 78212
• Will represent aliens in Asylum cases                 Tel: (210) 212-3700
• Clinic is closed from May 1st until September 1st     Fax: (210) 212-3774

                                                            • Toll Free 1-888-988-9996
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                             EXHIBIT 4
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** Referral Service    List of Pro Bono Legal
* Non Profit Organization
                                              Service Providers
                                          #:13652                    Updated July 2017
*** Private Attorney        http://www.justice.gov/eoir/list-pro-bono-legal-service-providers
                                            York Immigration Court
York, Pennsylvania
HIAS and Counsel Migration Services*
                                                            Pennsylvania Immigration Resource Center (PIRC)*
2100 Arch Street, 3rd Floor
Philadelphia, PA 19103                                      112 Pleasant Acres Rd, PO Box 20339, Suite I
(215) 832-0900                                              York, PA 17402
                                                            Tel: (717) 600-8099
• Will represent aliens seeking asylum.                     Fax: (717) 600-8044
• Representation limited to residents of Southeast
Pennsylvania and Delaware.                                  info@pirclaw
Prime - Ecumenical Commitment to Refugees*                  www.pirclaw.org
                                                            • All removal defense work
129 Owen Ave., P.O. Box 5                                   • Languages: Spanish
Lansdowne, PA 19050                                         Nationalities Service Center*
Tel: (610) 259-4500
Fax: (610) 259-4515                                         1216 Arch St., 4th Floor
prime-ecr@juno.com                                          Philadelphia, PA 19107
www.prime-immigration.org                                   Tel: (215) 893-8400
HIAS (Silver Spring)*                                       Fax: (215) 735-9718
                                                            legal@ncsphila.org
1300 Spring St, Suite 500                                   www.nscphila.org
Silver Spring, MD 20190
Phone: (301) 844-7248                                     • Languages: Spanish and French
legalhelp@hias.org
www.hias.org
• Children and families from Central America seeking
humanitarian relief
• Asylum seekers who are scientists, sholars, artists, or
professionals
• Languages: Spanish and Portugeuse
